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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF OKLAHOMA

MARTHA BRIANS,                                      )
                                                    )
        Plaintiff,                                  )
                                                    )
v.                                                  )        Case No. CIV-16-418-SPS
                                                    )
INDEPENDENT SCHOOL DISTRICT                         )
NO. 20 OF MUSKOGEE COUNTY,                          )
OKLAHOMA, a/k/a MUSKOGEE                            )
PUBLIC SCHOOLS,                                     )
                                                    )
        Defendant.                                  )

                                            JUDGMENT

        The Joint Motion for Entry of Judgment [Doc. No. 25] filed by the Plaintiff, Martha

Brians, and the Defendant, Independent School District No. 20 of Muskogee County, Oklahoma,

a/k/a Muskogee Public Schools (Muskogee Public Schools), an Oklahoma public school district,

comes before the court for disposition. The court, having reviewed the Joint Motion and other

papers on file in this case, finds as follows:

        1.      The Muskogee Public School District is a public entity existing under the laws of

the State of Oklahoma as an independent school district.

        2.      As a public independent school district, the Muskogee Public School District is

required to comply with the laws of the State of Oklahoma.

        3.      Without admitting liability for any reason and solely to conclude the dispute

between the parties and minimize the risks and costs of litigation, the parties have agreed to

settle all claims, known or unknown, and, as part of that settlement, to provide that Martha

Brians will receive a judgment against Defendant for and in the amount of One Hundred Seventy

Thousand and Nine Hundred 32 Dollars and 83/100 ($170,932.83) (the “Settlement Payment”).
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         4.    Pursuant to the settlement between the parties, no prejudgment interest, costs or

attorneys’ fees are due or owing to the Plaintiff.

         5.    The court has received, prior to the filing of this judgment, an affidavit (marked as

Exhibit 1 and attached hereto) of the Treasurer of the Muskogee Public School District setting

forth all necessary requirements of Okla. Stat. tit. 62, § 362, concerning the Muskogee Public

School District’s current financial status.

         6.    For good cause shown, the Joint Motion should be granted.

         IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED as follows:

         1.    Plaintiff is hereby granted judgment against the Defendant for and in the amount

of One Hundred Seventy Thousand and Nine Hundred 32 Dollars and 83/100 ($170,932.83),

which shall be paid in accordance with the procedures set forth in Okla. Stat. tit. 62, §§ 361-

365.6.

         2.    Post-judgment interest shall accrue on the unpaid balance of the judgment at the

statutory rate provided by Okla. Stat. tit. 12, § 727.1(1), which is currently 5.75%.

         3.    No prejudgment interest, attorneys’ fees or costs are awarded to Plaintiff.

         DATED this 31st day of August, 2017.
